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    8                       UNITED STATES DISTRICT COURT
    9               FOR THE CENTRAL DISTRICT OF CALIFORNIA
   10
    11   EMPYREAL ENTERPRISES, LLC,                   Case No. 5:22-cv-00094-JWH-SHKx
           d/b/a Empyreal Logistics,
   12
                      Plaintiff,                      ORDER DENYING PLAINTIFF’S
    13                                                RENEWED EX PARTE
               v.                                     APPLICATION FOR TEMPORARY
   14                                                 RESTRAINING ORDER [ECF
         UNITED STATES OF AMERICA;                    No. 36]
    15   MERRICK GARLAND, Attorney
           General, in his official capacity;
   16    CHRISTOPHER A. WRAY, Director
           of the Federal Bureau of
    17     Investigation, in his official capacity;
         KRISTI KOONS JOHNSON, Assistant
    18     Director of the Federal Bureau of
           Investigation, in her official capacity;
   19    DRUG ENFORCEMENT AGENCY;
         ANNE MILGRAM, Administrator of
   20      the Drug Enforcement Agency in her
           official capacity;
   21    SHANNON D. DICUS, San
           Bernardino County Sheriff-Coroner,
   22      in his official capacity;
         U.S. DEPARTMENT OF JUSTICE;
   23      and
         FEDERAL BUREAU OF
   24      INVESTIGATION,
   25                 Defendants.
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     1         Plaintiff Empyreal Enterprises, LLC d/b/a Empyreal Logistics is a cash-
    2    in-transit (armored car) business. Empyreal’s customers include participants in
    3    the state-legal cannabis industry. Empyreal accuses Defendants—state and local
    4    law enforcement officials and agencies—of conspiring to stop its vehicles and to
    5    seize the currency within in an unconstitutional and otherwise illegal manner.
    6    The Court does not now address whether Empyreal’s rights were violated, nor
    7    whether Defendants violated any laws. Instead, the Court rules on whether
    8    Empyreal has met the high burden for the issuance of an extraordinary remedy:
    9    a Temporary Restraining Order (“TRO”). Empyreal has not met that burden.
   10          Before the Court is Empyreal’s Renewed Application for a Temporary
    11   Restraining Order and Order to Show Cause (“OSC”).1 The Court finds this
   12    matter appropriate for resolution without a hearing. See Fed. R. Civ. P. 78;
   13    L.R. 7-15. After considering the papers filed in support and in opposition,2 the
   14    Court orders that the Motion is DENIED, as set forth herein.
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   20    1
               Pl.’s Renewed Appl. for TRO and OSC (the “Renewed Application”)
   21    [ECF No. 36].
         2
               The Court considered the following papers: (1) Compl. (the
   22    “Complaint”) [ECF No. 1]; (2) the Renewed Application (including its
         attachments); (3) Federal Defendants’ Opp’n to the Renewed Application (the
   23    “Federal Opposition”) (including its attachments) [ECF No. 45]; (4) Sheriff’s
         Opp’n to the Renewed Application (the “Sheriff’s Opposition”) (including its
   24    attachments) [ECF No. 46]; (5) Pl.’s Reply to Federal Opposition (the “Federal
         Reply”) [ECF No. 51]; and (6) Pl.’s Reply to Sheriff’s Opposition [ECF
   25    No. 52]. The Court received, but did not consider the following papers for
         reasons discussed below: (1) Pl.’s Appl. for Leave to File Under Seal (the
   26    “Application for Leave”) [ECF No. 49]; (2) Decl. of David Bass in Supp. of the
         Renewed Application (the “Bass Declaration”) [ECF No. 53]; (3) Decl. of Eric
   27    Picardal in Supp. of the Renewed Application (the “Picardal Declaration”)
         [ECF No. 54]; and (4) Decl. of Michael Jerome in Supp. of the Renewed
   28    Application (the “Jerome Declaration”) [ECF No. 55].

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     1                                  I. BACKGROUND
    2    A.    Procedural History
    3          Empyreal filed its Complaint commencing this action on January 14,
    4    2022.3 That same day, it filed its first ex parte application for a TRO.4 Four days
    5    later, the Court denied that application because Empyreal failed to comply with
    6    the requirement of Rule 65 of the Federal Rules of Civil Procedure that, absent
    7    special circumstances, a movant must notify the adverse party of the movant’s
    8    intent to request a TRO.5 See Fed. R. Civ. P. 65. The Court noted that
    9    Empyreal not only failed to comply with Rule 65’s notice requirement, but it
   10    also filed its ex parte application in the late afternoon on a Friday before a long
    11   holiday weekend.6 The Court denied Empyreal’s first ex parte application
   12    “without prejudice to Empyreal’s right or ability to seek appropriate injunctive
   13    relief through a regularly noticed motion.”7 Despite the Court’s explicit dictate
   14    that Empyreal could seek relief through a “regularly noticed motion,”8 on
   15    January 19, the parties submitted a joint stipulation through which Defendants
   16    consented to Empyreal filing a renewed application for a TRO.9 That same day,
   17    in accordance with the joint stipulation, Empyreal filed the instant Renewed
   18    Application, which is now fully briefed.
   19          Along with its Replies, Empyreal filed three sworn declarations that
   20    contain newly presented evidence.10 Defendant Shannon D. Dicus, the San
   21
   22    3
               Unless noted otherwise, all dates are in 2022.
   23    4
               See Ex Parte Appl. for TRO [ECF No. 17].
         5
   24          See Order Re: Ex Parte Appl. [ECF No. 32].
         6
               Id. at 1-2.
   25    7
               Id. at 2 (emphasis removed).
   26    8
               Id. (emphasis added).
         9
   27          See Joint Stipulation for Extension of Time [ECF No. 35].
         10
               See Application for Leave; Bass Declaration; Picardal Declaration; Jerome
   28    Declaration.

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     1   Bernardino County Sherriff, objects to those filings,11 as do the Federal
    2    Defendants.12 Specifically, Sheriff Dicus notes that while Defendants stipulated
    3    to allow Empyreal to file a reply brief, Defendants “did not set aside the well-
    4    settled notions of fair play in litigation.”13
    5           As a general matter, evidence produced for the first time on reply
    6    deprives the opposing party an opportunity to respond; it is improper. See Lujan
    7    v. Nat’l Wildlife Fed’n, 497 U.S. 871, 894-99 (1990). Accordingly, Defendants’
    8    respective objections are SUSTAINED. Furthermore, the Court is compelled
    9    to express its concerns regarding Empyreal’s litigation tactics. Thus far,
   10    Empyreal has: (1) attempted to present new evidence along with its Replies—
    11   evidence to which Defendants would have no ability to respond; (2) filed an
   12    ex parte TRO application late on a Friday afternoon before a holiday weekend
   13    without first notifying opposing counsel; and (3) declined to follow the Court’s
   14    directive to file its next request for relief as a regularly noticed motion.
   15    Empyreal may very well have an excellent case on the merits—the Court
   16    respects Empyreal’s zeal and does not doubt its sincerity—but Empyreal’s
   17    counsel does their client no favors by cutting procedural corners and ignoring
   18    the Court’s guidance. See, e.g., Cal. R. Ct. 3.3 & 3.4.
   19    B.     Factual Allegations
   20           The following summary of Empyreal’s allegations comes from the
   21    Complaint and the Renewed Application:
   22           Empyreal is a cash-in-transit (armored car) business that operates in 28
   23    states, including California.14 Empyreal transports cash for financial institutions
   24    and the state-legal cannabis businesses with which those financial institutions do
   25
         11
   26           See Def.’s Objs. (the “Sheriff’s Objections”) [ECF No. 56].
         12
                See Defs.’ Objs. [ECF No. 58].
   27    13
                Sheriff’s Objections 2:9-12.
   28    14
                Renewed Application 2:9-10.

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     1   business.15 Empyreal emphasizes that a “significant percentage” of its cash-in-
    2    transit business does not involve the cannabis industry. Empyreal conspicuously
    3    fails, however, to disclose that “significant percentage.”16 Similarly, Empyreal
    4    notes that “most of its cannabis-industry clients hold medical cannabis
    5    licenses,”17 it but does not define “most.”
    6          Empyreal accuses Defendants of “targeting Empyreal’s vehicles for
    7    pretextual stops and searches” and “seizing cash and other property lawfully
    8    transported therein for civil forfeiture.”18 Specifically, Empyreal alleges that the
    9    Department of Justice (the “DOJ”) “is coordinating a federal effort across
   10    multiple states, jurisdictions, and DOJ agencies—in cooperation with multiple
    11   state and/or local law-enforcement agencies via joint task force investigations—
   12    to target Empyreal vehicles for these stops, searches, seizures, and
   13    forfeitures.”19
   14          Since mid-May 2021, Empyreal’s vehicles have been stopped and
   15    searched by sheriff’s deputies five times—twice in Kansas and three times in
   16    San Bernardino County.20 Three of those stops resulted in seizures, and only
   17    one of the stops involved a warrant.21 The specific alleged details are as follows:
   18
         15
                Id. at 2:12-15; Decl. of Deirdra O’Gorman in Supp. of the Renewed
   19    Application (the “O’Gorman Declaration”) [ECF No. 36-1] ¶ 10. The Court
         notes that there are key differences in the language of the Renewed Application
   20    and the O’Gorman Declaration. The O’Gorman Declaration is clear that
         Empyreal provides services for businesses that sell cannabis. See O’Gorman
   21    Declaration ¶ 10. By contrast, the Renewed Application—at least in the passage
         cited by the Court—strongly insinuates that Empyreal only “serves financial
   22    institutions that work with state-licensed medical and adult-use cannabis
         businesses . . . .” Renewed Application 2:12-13. The Court once again reminds
   23    Empyreal’s counsel of their obligation of candor to the Court. See
         Cal. R. Ct. 3.3; Cal. Bus. & Prof. Code 6068(d).
   24    16
                See id. at 2:19-21; O’Gorman Declaration.
   25    17
                Renewed Application 2:22 (emphasis added).
         18
   26           Id. at 3:14-16.
         19
                Id. at 3:19-22.
   27    20
                Id. at 4:1-7.
   28    21
                Id. at 4:1-9.

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     1         May 17, 2021: Sheriff’s officers in Dickinson County, Kansas, stopped an
    2            Empyreal vehicle for an allegedly obscured license plate tag.22 The
    3            vehicle was not transporting cash, and no seizure occurred.23 Sheriff’s
    4            officers questioned the driver extensively and searched the vehicle.24
    5          May 18, 2021: Sheriff’s officers in Dickinson County stopped and
    6            searched an Empyreal vehicle and seized approximately $165,620 in
    7            cash.25 Empyreal alleges that the Sheriff’s Office worked in conjunction
    8            with a Drug Enforcement Agency (“DEA”) task force and that the cash
    9            that was seized came entirely from state-licensed medical cannabis
   10            dispensaries operating lawfully under Missouri law.26 As a result of that
    11           seizure, in September 2021, the United States sought the civil forfeiture
   12            of the seized cash.27
   13          November 16, 2021: San Bernardino Sheriff’s Department deputies
   14            stopped and seized approximately $700,000 in currency from an
   15            Empyreal vehicle, as well as the vehicle itself and the driver’s business
   16            and personal cellphones.28 Empyreal alleges that “three of the four
   17            cannabis businesses whose cash proceeds were seized during the
   18            November 16 seizure hold California medical cannabis licenses”—
   19            implicitly suggesting that the fourth business does not hold such a
   20            license.29
   21
   22
         22
   23            Id. at 4:11-12.
         23
                 Id. at 4:13-14.
   24    24
                 Id. at 4:14-17.
   25    25
                 Id. at 4:18-19.
         26
   26            Id. at 4:20-23.
         27
                 Id. at 4:23-26.
   27    28
                 Id. at 5:3-6.
   28    29
                 Id. at 5:10-12 (emphasis added).

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     1         December 9, 2021: San Bernardino County Sheriff’s Department
    2           deputies stopped an Empyreal vehicle and seized approximately
    3           $350,000.30 On that occasion, all four businesses whose cash proceeds
    4           were seized held California medical cannabis licenses.31
    5          January 6, 2022: San Bernardino County Sheriff’s Department deputies
    6           stopped and searched an Empyreal vehicle and interrogated the driver.32
    7           When deputies realized that the vehicle was transporting cash from a non-
    8           cannabis business, they declined to seize the cash.33 When the Empyreal
    9           driver asked a deputy why Empyreal’s vehicles were being stopped so
   10           frequently, Empyreal alleges that the deputy told him that it was
    11          “political,” but declined to elaborate.34
   12           The approximately $1,050,000 seized by Sheriff Dicus has been
   13    transferred under the DOJ’s equitable sharing program to the Federal Bureau of
   14    Investigation (“FBI”) or other Federal Defendants.35 Those Federal
   15    Defendants are pursuing, or will pursue, the civil forfeiture of that cash.36
   16           The stops have hindered Empyreal’s business operations. In response to
   17    the stops, Empyreal suspended business operations in San Bernardino County
   18    and Kanas.37 The cessation of operations in San Bernardino County was
   19    particularly costly because Empyreal was building a vault and processing facility
   20    there.38 Empyreal already spent around $100,000 on the facility, and it is
   21
   22    30
                Id. at 5:16-18.
         31
   23           Id. at 5:21-22.
         32
                Id. at 5:26-27.
   24    33
                Id. at 6:4-5.
   25    34
                Id. at 6:4-5.
         35
   26           Id. at 6:9-11.
         36
                Id. at 6:10-12.
   27    37
                Id. at 7:1-2.
   28    38
                Id. at 7:12-17.

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     1   currently incurring costs of $21,000 per month in rent and utilities.39 Because of
    2    the stops and seizures, Empyreal has lost—and will likely continue to lose—
    3    potential clients.40
    4           Empyreal now moves the Court to issue an OSC for Defendants to
    5    demonstrate why a preliminary injunction should not issue.41 In addition,
    6    Empyreal seeks a TRO restraining and enjoining Defendants from: (1) stopping,
    7    detaining, or seizing Empyreal’s personnel or vehicles absent articulable,
    8    particularized reasonable suspicion or probable cause of a traffic violation or
    9    criminal conduct; (2) extending the duration of any stop beyond the time
   10    necessary to complete the stop’s traffic-violation or other probable-caused based
    11   reason for the stop; (3) searching Empyreal’s personnel, property, or
   12    possessions absent probable cause; and (4) seizing Empyreal’s property or
   13    possessions absent probable cause.42
   14                               II. LEGAL STANDARD
   15           A TRO preserves the status quo and prevents irreparable harm until a
   16    hearing may be held on the propriety of a preliminary injunction. See Reno Air
   17    Racing Ass’n, Inc. v. McCord, 452 F.3d 1126, 1131 (9th Cir. 2006). The standard
   18    for issuing a TRO is identical to the standard for issuing a preliminary
   19    injunction. Lockheed Missile & Space Co. v. Hughes Aircraft Co., 887 F. Supp.
   20    1320, 1323 (N.D. Cal. 1995).
   21           “A preliminary injunction is an extraordinary and drastic remedy; it is
   22    never awarded as of right.” Munaf v. Geren, 553 U.S. 674, 689 (2008) (citations
   23    omitted). An injunction is binding only on parties to the action, their officers,
   24
   25
         39
   26           Id.
         40
                See id. at 8:16-25.
   27    41
                Proposed TRO [ECF No. 36-5] 3:1-2.
   28    42
                Id. at 3:10-4:24.

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     1   agents, servants, employees, and attorneys and those “in active concert or
    2    participation” with them. Fed. R. Civ. P. 65(d)(2).
    3          “A plaintiff seeking a preliminary injunction must establish that he is
    4    likely to succeed on the merits, that he is likely to suffer irreparable harm in the
    5    absence of preliminary relief, that the balance of equities tips in his favor, and
    6    that an injunction is in the public interest.” Winter v. Natural Res. Def. Council,
    7    Inc., 555 U.S. 7, 20 (2008). In the Ninth Circuit, “serious questions going to the
    8    merits and a balance of hardships that tips sharply towards the plaintiff can
    9    support issuance of a preliminary injunction, so long as the plaintiff also shows
   10    that there is a likelihood of irreparable injury and that the injunction is in the
    11   public interest.” Alliance for Wild Rockies v. Cottrell, 632 F.3d 1127, 1135 (9th
   12    Cir. 2011) (internal quotations omitted).
   13                                    III. DISCUSSION
   14          Empyreal provides the Court with no example in which a court issued a
   15    TRO like the one that Empyreal requests here. In other words, Empyreal fails to
   16    demonstrate that, if it satisfied the Winter factors, then the TRO that it seeks is
   17    appropriate. The Court need not address that issue, however, because
   18    Empyreal fails to satisfy the Winter factors. The Court finds that a TRO is not
   19    appropriate because—on this record—Empyreal has neither demonstrated that
   20    it is likely to succeed on the merits nor that there are “serious questions going to
   21    the merits[.]” Id. The Court therefore addresses only the likelihood of success
   22    on the merits; it does not address the other Winter factors.
   23    A.    Other Remedies at Law
   24          The Federal Defendants argue that Empyreal has an adequate remedy at
   25    law by virtue of the commencement of the administrative forfeiture
   26    proceedings.43 Empyreal disagrees, arguing that the Renewed Application
   27
   28    43
               Federal Opposition 4:9-10.

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     1   “seeks only injunctive and declaratory relief to prevent future stops, searches,
     2   and seizures.”44
     3         The Federal Defendants cite United States v. U.S. Currency $83,310.78,
     4   851 F.2d 1231 (9th Cir. 1988), in which the Ninth Circuit declared that “when a
     5   civil forfeiture proceeding has been filed, the claimant has adequate remedies to
     6   challenge any fourth amendment violation. Accordingly, when a civil forfeiture
     7   proceeding is pending, there is no need to fashion an equitable remedy to secure
     8   justice for the claimant.” Id. at 1235 (emphasis added). Empyreal does not
     9   address U.S. Currency $83,310.78 in its Federal Reply. The Court notes,
    10   however, that the appellant in U.S. Currency $83,310.78 sought the return of her
    11   property. That case, therefore, seems inapposite to the matter at bar. Because
    12   the Court finds that Empyreal fails to satisfy the merits factor on other grounds,
    13   and because no party has briefed this matter sufficiently, the Court declines to
    14   rule on this argument. See Does 1 v. United States, 2021 WL 3206808, at *2, n.2
    15   (C.D. Cal. June 7, 2021) (declining to rule on a similar argument “[b]ecause the
    16   Court denies Plaintiffs’ TRO Application on other grounds”).
    17   B.    Ultra Vires Acts
    18         Empyreal argues that it is likely to succeed on the merits because Sheriff
    19   Dicus and the Federal Defendants’ actions toward Empyreal are beyond their
    20   legal authority and are, therefore, void as ultra vires.45
    21         1.     The Federal Defendants
    22         The Appropriations Clause of the United States Constitution provides
    23   that “No Money shall be drawn from the Treasury, but in Consequence of
    24   Appropriations made by Law” U.S. Const. art. I, § 9, cl. 7. That clause “means
    25   simply that no money can be paid out of the Treasury unless it has been
    26
    27   44
               Federal Reply 3:9-17 (emphasis in original).
    28   45
               See Renewed Application 14:10-19:14.

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     1   appropriated by an act of Congress.” Off. of Pers. Mgmt. v. Richmond, 496 U.S.
     2   414, 424 (1990) (quotation and citation omitted). Empyreal contends that
     3   because Congress prohibits the DOJ from spending any funds interfering with
     4   state-legal medical cannabis, the Federal Defendants’ ongoing seizures are ultra
     5   vires.46 At this stage of the litigation, the Court is not persuaded.
     6         The Federal Defendants and Empyreal agree that Congress prohibits the
     7   use of funds to prosecute individuals who are in strict compliance with a state’s
     8   medical marijuana laws.47 Empyreal, however, ignores that Congress’s
     9   prohibition does not apply when funds are spent to prosecute “individuals who
    10   engage in conduct unauthorized under state medical marijuana laws.” United
    11   States v. McIntosh, 833 F.3d 1163, 1178 (9th Cir. 2016) (emphasis added). In
    12   McIntosh, the Ninth Circuit observed that Congress purposely did not “prohibit
    13   interference with laws that address medical marijuana or those that regulate
    14   medical marijuana[.]” Id. Instead, Congress “chose to proscribe preventing
    15   states from implementing laws that authorize the use, distribution, possession,
    16   and cultivation of medical marijuana.” Id.
    17         Empyreal bears the burden to show by a preponderance of evidence that it
    18   has strictly complied with state medical marijuana laws. See United States v.
    19   Pisarski, 965 F.3d 738, 742 (9th Cir. 2020). Empyreal has not come close to
    20   meeting that burden. Empyreal’s only evidence with respect to the issue of
    21   strict compliance is self-serving declarations from its CEO, Deirdra
    22   O’Gorman.48 The value of those declarations is limited. See Murphy v. U.S.
    23   Bank Nat’l Ass’n, 2019 WL 1777294, at *4 (C.D. Cal. Apr. 23, 2019) (holding
    24   that conclusory and self-serving affidavits are “far from sufficient to show a
    25   likelihood of success on the merits.”).
    26
         46
               Id. at 16:8-11.
    27   47
               Compare Federal Opposition 8:8-12 with Renewed Application 17:7-26.
    28   48
               See, e.g., Federal Reply 4:13-5:7.

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     1         Those declarations, moreover, raise serious cause for skepticism that
     2   Empyreal and its customers were in strict compliance with state medical
     3   marijuana laws. O’Gorman, for example, notes that “[m]ost of Empyreal’s
     4   cannabis-industry clients hold medical cannabis licenses.”49 The word “most”
     5   implies that some of Empyreal’s cannabis-industry clients do not hold medical
     6   cannabis licenses. Similarly, O’Gorman testifies that “[t]hree of the four
     7   cannabis businesses whose cash proceeds were seized . . . hold California
     8   medical cannabis licenses.”50 The Court can only presume that the fourth
     9   business did not hold such a license.
    10         Because Empyreal has not shown by a preponderance of evidence that it
    11   has strictly complied with California’s medical marijuana laws, it has not
    12   demonstrated that the Federal Defendants’ actions were beyond their authority.
    13         2.     Sheriff Dicus
    14         In California, a “governmental agency that acts outside of the scope of its
    15   statutory authority acts ultra vires and the act is void.” California Dui Laws.
    16   Ass’n v. California Dep’t of Motor Vehicles, 20 Cal. App. 5th 1247, 1264 (2018).
    17   Empyreal notes that “[n]o California law . . . empowers Sheriff Dicus to search
    18   and seize property where there is no probable cause for criminal activity.”51
    19   California law is clear that entities transporting cash for licensed cannabis
    20   providers do not violate California law “solely by virtue of the fact that the
    21   person receiving the benefit of any of those services engages in commercial
    22   cannabis activity . . . .” Cal. Bus. & Prof. Code § 26260.
    23         Here, the Court again finds that Empyreal has not raised serious questions
    24   going to the merits. The only evidence that Empyreal presents is self-serving
    25   declarations from its CEO, the limitations of which the Court discusses above.
    26
         49
               O’Gorman Declaration ¶ 13.
    27   50
               Id. at ¶ 31.
    28   51
               Renewed Application 15:1-2.

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     1   In conflict with O’Gorman’s declarations is the similarly self-serving
     2   Declaration of Sergeant Alex Naoum.52 That declaration suggests that each of
     3   the Sheriff’s Department’s stops was accompanied by, at a minimum,
     4   reasonable suspicion.53 The Sheriff’s Department conducted one of the stops,
     5   moreover, under the auspices of a search warrant.54 Finally, the Naoum
     6   Declaration raises serious questions over whether any deputy said that the stops
     7   were for political reasons.55 At this stage, the Court cannot conclude that there
     8   are serious questions going to the merits of the argument that Sheriff Dicus
     9   acted beyond the scope of his authority.
    10   C.    Constitutional Arguments
    11         Empyreal asserts that Sheriff Dicus is violating Empyreal’s rights under
    12   the Fourth Amendment and the Due Process Clause of the Fourteenth
    13   Amendment.
    14         Under the Fourth Amendment, “[o]fficers are required to have at least
    15   reasonable suspicion to stop a vehicle for investigatory purposes.” Jones v. Las
    16   Vegas Metro. Police Dep’t, 873 F.3d 1123, 1132 (9th Cir. 2017). Under the Due
    17   Process Clause, a person is entitled to “impartial and disinterested”
    18   enforcement of laws. See, e.g., Marshall v. Jerrico, Inc., 446 U.S. 238, 242
    19   (1980).
    20         Empyreal’s arguments fail for similar reasons that its ultra vires arguments
    21   fail. Put simply, there is not enough evidence at this time to suggest that
    22   Empyreal’s Constitutional rights were violated.
    23
    24
    25   52
             Decl. of Sgt. Alex Naoum in Supp. of the Sheriff’s Opposition (the
    26   “Naoum Declaration”) [ECF No. 46-1].
         53
             Id.
    27   54
             Id. at ¶¶ 4-6.
    28   55
             See id. at ¶ 10; Sheriff’s Opposition 11:9-14.

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     1                                 IV. CONCLUSION
     2         For the foregoing reasons, the Court hereby ORDERS as follows:
     3         1.     The Renewed Application is DENIED.
     4         2.     Once again, the Court makes this order without prejudice to
     5   Empyreal’s right or ability to seek appropriate injunctive relief through a
     6   regularly noticed motion.
     7         IT IS SO ORDERED.
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     9   Dated: January 31, 2022
                                                John W. Holcomb
    10                                          UNITED STATES DISTRICT JUDGE
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